      Case 7:14-cv-00193 Document 43 Filed in TXSD on 07/20/14 Page 1 of 7



                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE SOUTHERN DISTRICT OF TEXAS
                                  MCALLEN DIVISION

MARIA TAMEZ                                     §
          Plaintiff                             §
V.                                              §           CIVIL ACTION NO. 7:14-193
                                                §
TA HSIN, INC.,                                  §
            Defendant                           §



                      PLAINTIFF'S SECOND AMENDED COMPLAINT


TO THE HONORABLE UNITED STATES DISTRICT JUDGE:


       COMES NOW MARIA TAMEZ, hereinafter referred to as “Plaintiff,” complains of TA

HSIN, INC., hereinafter referred to as “Defendant,” and would show the court as follows:

                       A. Right to Amend Complaint as a Matter of Course

1.     This is Plaintiff’s first time to amend this complaint in federal court. Pursuant to Rule

15(a)(1)(B) of the Federal Rules of Civil Procedure a party may amend its pleadings as a matter of

course within 21 days after service of a motion under Rule 12(b). Defendants filed their Motion to

Dismiss pursuant to Rule 12(b) on May 22, 2014. The court struck their motions and Defendants

refiled their motions on May 29, 2014. Plaintiff is within Rule 15(a)(1)(B) time line to amend her

pleadings as a matter of course.

                                           B. Parties

2.     Plaintiff is a resident of Hidalgo County, Texas.

3.     Defendant, TA HSIN, INC. is a Texas domestic corporation and has been served and

answered herein.

4.     Plaintiff is no longer seeking at this time to assert a cause of action against NANCY H.




                                      EXHIBIT 1
      Case 7:14-cv-00193 Document 43 Filed in TXSD on 07/20/14 Page 2 of 7



TSENG or WILLIAM TSENG.

                                          C. Jurisdiction

5        There is no subject matter jurisdiction under 28 U.S.C. §1331 because there is no longer a

claim under the Federal Labor Standards Act. In addition there is no subject matter jurisdiction

under 28 U.S.C. §1332 because there is no diversity of citizenship. All parties to the suit reside in

Texas.

6.       Venue is proper in Hidalgo County, Texas, pursuant because all or a substantial part of the

events or omissions giving rise to the claims arose in Hidalgo County, and because one or more

defendants did then and do now reside in Hidalgo County, Texas.

                                              D. Facts

7.       Defendant TA HSIN, INC., its agents, servants and/or employees were in control of the

premises located at 1015 N. Texas Blvd., Weslaco, Hidalgo County, Texas 78596, on or about

February 24, 2013. Plaintiff would show that although Defendant TA HSIN, INC has employees

in excess of the number required under the law and would otherwise qualify to become a

subscriber under the Texas Workers’ Compensation Act, thereby covering the Plaintiff and her

fellow employees with workers’ compensation insurance, said Defendant (employer) had no

workers’ compensation insurance and thus failed to provide the Plaintiff and her fellow

employees with workers’ compensation benefits. Therefore, Plaintiff does hereby plead and

claim the right to benefits and privileges accorded her under the Texas Workers’ Compensation

Act, and/or any other applicable law, including, but not limited to, defendant’s waiver of its

common law affirmative defenses at trial.

                 E. Count 1 – Respondeat Superior/Negligence/Safety of Premises




                                                 2


                                       EXHIBIT 1
      Case 7:14-cv-00193 Document 43 Filed in TXSD on 07/20/14 Page 3 of 7



8.     Plaintiff, MARIA TAMEZ, was an employee of Defendant, TA HSIN, INC., at the time

of the incident in question. While in the course and scope of her employment and while under

Defendant’s control and supervision, Plaintiff suffered serious bodily injuries as a direct result of

an incident proximately caused by the negligence of Defendant, its agents, servants and/or

employees who were at all times material acting within the course and scope of their agency or

employment, for whom Defendant is vicariously liable based upon the doctrine of respondeat

superior. Specifically, plaintiff was seriously injured while walking to the kitchen to place an

order. As she walked into the kitchen, she slipped on green beans and fell, resulting in her

injuries. The incident happened as a result of defendant’s negligence in failing to provide

adequate safety of its premises. Further, Defendant’s agents, servants and/or employees created the

dangerous condition which caused Plaintiff’s injuries.

                                  F. Count II – Premise Liability.

9.     Pleading in the alternative, if Defendant is not the employer of Plaintiff, then Plaintiff

was an invitee on the premises which was under the control and supervision of Defendant and

Defendant owed a duty of ordinary care. Defendant is negligent by failing to reduce or eliminate

an unreasonably dangerous condition, which Defendant created and/or which the Defendant

knew about or should have known about, which created an unreasonable risk of harm.

                                               G. Count III - Negligence

10.    Plaintiff’s resulting injuries were directly and proximately caused by Defendant’s

negligence, and the way in which Plaintiff was injured was reasonably foreseeable. Defendant,

and its agents, servants and/or employees, who were at all times acting in the course and scope of

their employment, were guilty of negligence and negligence per se toward Plaintiff, MARIA




                                                 3


                                       EXHIBIT 1
     Case 7:14-cv-00193 Document 43 Filed in TXSD on 07/20/14 Page 4 of 7



TAMEZ, in at least the following respects:

       a.     In creating a dangerous condition at the facility;

       b.     In failing to properly inspect the facility for defects;

       c.     In failing to properly repair defects on the facility;

       d.     In failing to properly maintain the facility in a safe condition suitable for the
              ordinary use of defendant’s employees;

       e.     In failing to exercise reasonable care to reduce or to eliminate a dangerous
              condition on the facility;

       f.     In allowing a dangerous condition to remain on the premises. An entity exercising
              ordinary care would have discovered and removed such dangerous condition prior
              to the time of the plaintiff’s accident and resulting injuries;

       g.     In failing to warn Plaintiff that an unreasonably dangerous condition remained,
              presenting a hazard to the Plaintiff and to other invitees and employees on the
              facility;

       h.     In failing to post warning signs or markers, or otherwise to notify the Plaintiff, and
              other employees and invitees, that a hazardous condition existed on the facility
              and constituted a threat to said employees’ and invitees’ safety;

       i.     In failing to properly train and supervise its employees so as to avoid unreasonable
              risk of harm to other employees through accidents such as the one giving rise to
              this cause of action;

       j.     In failing to provide a safe work environment;

       k.     In failing to provide Plaintiff with equipment that was safe for the use of their
              employees;

       l.     In failing to provide Plaintiff with adequate and/or reasonably competent fellow
              employee;

       m.     In failing to provide Plaintiff with adequate and/or reasonably competent
              supervisory personnel to supervise work activities;

       n.     In failing to follow company policies and procedures in allowing a known
              dangerous condition to persist; and




                                                 4


                                      EXHIBIT 1
      Case 7:14-cv-00193 Document 43 Filed in TXSD on 07/20/14 Page 5 of 7




       o.      In failing to take immediate action to make sure any objects are not on the floor
               around any work area.

                                               H. Damges

11.    Said elements of damage which Plaintiff, MARIA TAMEZ, seeks to recover from the

Defendants include compensation for the following:

        a.     The physical pain and disability sustained by Plaintiff from date of injury to the time
               of trial;

       b.      Future physical pain and disability reasonably anticipated to be sustained by Plaintiff
               in the future;

       c.      Mental anguish and suffering sustained by Plaintiff from date of injury to time of
               trial;

       d.      Mental anguish and suffering which is reasonably anticipated to be suffered by
               Plaintiff in the future;

       e.      Loss of earnings sustained by Plaintiff from date of injury to time of trial;

       f.      Loss of earnings and earning capacity reasonably anticipated to be suffered by
               Plaintiff in the future;

       g.      Reasonable and necessary medical expenses incurred by Plaintiff in the treatment of
               Plaintiff’s injuries from date of injury to time of trial;

       h.      Reasonable and necessary medical expenses reasonably anticipated to be sustained
               by Plaintiff in the future for treatment of Plaintiff’s injuries;

       i.      Past and future physical disfigurement;

       j.      Past and future physical impairment; and


       k.      such other and further relief as may be required by law.


12.    In the alternative, Plaintiff would show that if any injury and/or condition from which she

currently suffers was pre-existing, then such condition was aggravated and/or exacerbated by the



                                                  5


                                       EXHIBIT 1
      Case 7:14-cv-00193 Document 43 Filed in TXSD on 07/20/14 Page 6 of 7



negligence of the Defendants herein.

13.    In the alternative, Plaintiff would show that if she suffers from any subsequent injury and/or

condition then such injury and/or condition was aggravated and/or exacerbated by the negligence of

the Defendants herein.

14.    As such, Plaintiff, MARIA TAMEZ, affirmatively pleads that she seeks monetary relief

over $200,000.00 but not more than $1,000,000.00.



                                          I. Demand Jury Trial

15.    Plaintiff requests a jury trial.

                                               J. Prayer

16.    WHEREFORE, PREMISES CONSIDERED, Plaintiff prays that this Defendant be cited to

appear and answer herein, and that upon final trial hereof, Plaintiff recovers from said Defendant a

sum over $200,000.00 but not more than $1,000,000.00, costs of Court, pre-judgment and post-

judgment interest at the legal rate, and demand for judgment for all other relief to which the

Plaintiffs deemed herself entitled.



                                                Respectfully submitted,

                                                STERN LAW GROUP

                                                /s/ Jeffrey M. Stern
                                                JEFFREY M. STERN
                                                SBN: 19175660
                                                SDN: 8536
                                                jstern@stern-lawgroup.com
                                                4909 Bissonnet St., Suite 100
                                                Bellaire, Texas 77401



                                                   6


                                          EXHIBIT 1
      Case 7:14-cv-00193 Document 43 Filed in TXSD on 07/20/14 Page 7 of 7



                                              713/661-9900
                                              713/666-5922 Facsimile
                                              Attorney in Charge for Plaintiff



                                      CERTIFICATE PAGE

       I hereby certify that on this 6th day of June, 2014, a true and correct copy of the foregoing
instrument was forwarded to all counsel of record by telephonic document transfer, messenger,
hand delivery, express delivery, and/or certified mail, return receipt requested.

Via Facsimile:(972)392-9889
William Chu
4455 LBJ Freeway, #909
Dallas, Texas 75244
wmchulaw@aol.com
Attorney for Defendants Nancy H. Tseng
and Ta Hsin, Inc.

Via Facsimile:(713)223-0755
Chung Yuan Lee
C.Y. Lee Legal Group, PLLC
1305 Prairie Street, Suite 300
Houston, Texas 77002
clee@leelegalgroup.com
Attorney for Defendants William Tseng
                                                             /s/ Jeffrey M. Stern
                                                             JEFFREY M. STERN




                                                 7


                                      EXHIBIT 1
